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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  CRYSTAL BOLDUC,

                Plaintiff,

       vs.                                  Civil Action No. 4:22-cv-615-ALM
  AMAZON.COM INC.,

                Defendant.


                    DEFENDANT AMAZON.COM, INC.’S
                  MOTION TO STRIKE CLASS ALLEGATIONS




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 DEFENDANT AMAZON.COM, INC.’S MOTION TO STRIKE CLASS ALLEGATIONS

        Though styled as a class action, Plaintiff’s Second Amended Complaint (“SAC” or

 “Complaint”) fails to satisfy the requirements of Federal Rule of Civil Procedure 23. Plaintiff

 seeks to represent “[a]ll white and Asian individuals who stand ‘able and ready to apply’ to

 Amazon’s ‘delivery service partners’ [“DSP”] program, either now or in the future.” SAC ¶ 45.

 Plaintiff’s class allegations are facially defective in multiple ways and should be stricken.

        To begin, the class is not ascertainable. This Court lacks any objective means by which to

 determine which white and Asian persons are or will be “able and ready to apply” to become a

 DSP owner. Indeed, membership in this putative class is determined by reference to each person’s

 state of mind—a quintessential example of an unascertainable, non-certifiable class.

        Moreover, it is clear from the face of the Complaint that Plaintiff cannot establish, on a

 classwide basis, that all applicants or prospective applicants have standing or can demonstrate

 causation and a right to relief. As explained in the concurrently filed Motion to Dismiss, Plaintiff’s

 theory of liability is that Amazon has discriminated against certain DSP owners by providing a

 $10,000 bonus to Black, Latinx, and Native American DSP owners; in this context, merely being

 “able and ready to apply” to the DSP program should not be sufficient to establish Article III

 standing or state a Section 1981 claim. Plaintiff tries to overcome that argument through

 allegations in her Complaint about her own personal qualifications, preparations, and alleged

 likelihood of passing through the selection process. Even if those allegations were sufficient for

 her to survive a Motion to Dismiss (and they are not), they merely demonstrate the need for a

 highly specific, individualized inquiry into each person’s facts.

        That is, even under Plaintiff’s “able and ready to apply” theory, each putative class member

 would still need to show that he or she (a) meets Amazon’s threshold requirements for the DSP

 program, (b) has taken concrete steps to identify an opening and prepare an application, and (c)


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 has a non-speculative prospect of passing through the selection process. Putative class members

 who fail to make that showing would not be able to establish actual or imminent injury (i.e., they

 are not actually able and ready to compete for a position), nor causation and damages under Section

 1981 (i.e., they would not be eligible for a grant given to DSP owners, regardless of their race).

        Accordingly, it is already clear from the face of the Complaint that common issues will not

 predominate for Plaintiff’s proposed Rule 23(b)(3) damages class. Likewise, Plaintiff cannot

 certify a Rule 23(b)(2) class when not all putative class members would benefit from the relief.

        Where class allegations are deficient on their face, a district court may strike them at the

 pleading stage, particularly where neither discovery nor more time will allow the plaintiff to

 remedy the deficiencies. This is such a case. No amount of discovery or time will change the

 legal deficiencies inherent in Plaintiff’s class definition and her inability to establish any right to

 relief (much less damages) on a classwide basis.

                                      I.      BACKGROUND

        Though Plaintiff’s class definition is now confined to those who (allegedly like her) stand

 “able and ready to apply,” it was not always so limited. In the First Amended Complaint, Plaintiff

 attempted to represent three subclasses: (1) existing DSPs, (2) applicants to become DSPs, and

 (3) non-applicants who are ready to apply to become DSPs. See Dkt. 8 at ¶ 26. Amazon’s Motion

 to Dismiss challenged, among other things, Plaintiff’s standing because she had not actually

 alleged facts showing her readiness to apply. See Dkt. 10 at 11–14. The Motion to Strike, in turn,

 pointed out that Plaintiff was not even a member of two of the subclasses, insofar as she was not

 herself a DSP and stated that she would not apply to become one. See Dkt. 11 at 5–6. For its part,

 the third subclass—those who stood “able and ready to apply”—was not ascertainable and lacked

 standing. See id. at 8–10.




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        Apparently acknowledging that she cannot represent existing DSPs or applicants, Plaintiff

 has now dropped them from her class definition, leaving only those who are “able and ready to

 apply.” SAC ¶ 45. The Second Amended Complaint adds several paragraphs of individualized

 allegations designed to buttress Plaintiff’s claim that she too is ready to apply to become a DSP

 and would be accepted if she were to apply. See id. ¶¶ 23–38. For example, she alleges that she

 has filled out most of the online application and satisfies various eligibility criteria, such as

 creditworthiness, work experience, and leadership skills. See id.

        These allegations, Plaintiff contends, prove that she has standing and can represent a class

 of individuals who are “able and ready to apply” to become DSPs. For the reasons set forth below,

 they do not.

                                  II.     LEGAL STANDARD

        Class actions have four threshold requirements: (1) numerosity, (2) commonality,

 (3) typicality, and (4) adequacy of representation. See Fed. R. Civ. P. 23(a); Amchem Prod., Inc.

 v. Windsor, 521 U.S. 591, 613 (1997). In addition, the action must satisfy one of the class types

 set forth in Rule 23(b). Amchem Prod., 521 U.S. at 614. The plaintiff bears the burden to plead

 each of these requirements. See Wilson v. Zarhadnick, 534 F.2d 55, 57 (5th Cir. 1976); Rosa v.

 Am. Water Heater Co., 177 F. Supp. 3d 1025, 1042 (S.D. Tex. 2016).

        Rule 23, which requires evaluation of class issues at “an early practicable time,” authorizes

 a motion to strike class allegations. Fed. R. Civ. P. 23(c)(1)(A), (d)(1)(D); see, e.g., Pilgrim v.

 Universal Health Care, LLC, 660 F.3d 943, 949–50 (6th Cir. 2011) (upholding grant of Rule 23

 motion to strike class allegations); Markey v. La. Citizens Fair Plan, No. CIV. A. 06-5473, 2008

 WL 5427708, at *1 (E.D. La. Dec. 30, 2008) (granting Rule 23 motion to strike class allegations




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 that were deficient on face of pleadings).1 As Rule 23 states: “[T]he court may issue orders that

 . . . require that the pleadings be amended to eliminate allegations about representation of absent

 persons.” Fed. R. Civ. P. 23(d)(1)(D).

        The Supreme Court has observed that “sometimes” class certification issues “are plain

 enough from the pleadings.” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982), cited in

 Rosa, 177 F. Supp. 3d at 1042–43 (granting motion to strike class allegations where it was apparent

 from face of pleading that putative class was unsupportable). “[F]or an action to go forward under

 Rule 23, the pleader must set forth sufficient allegations to show that the four requirements set

 forth in subdivision (a) are satisfied and that the action falls within one of the three categories

 described in subdivision (b).” 7B Charles Alan Wright & Arthur R. Miller, Federal Practice &

 Procedure § 1798 (3d ed. 2022). “There must,” in other words, “be an adequate statement of the

 basic facts to indicate that each requirement of the rule is fulfilled.” John, 501 F.3d at 445 n.4

 (quoting In re Am. Med. Sys., Inc., 75 F.3d 1069, 1079 (6th Cir. 1996)).

                                       III.    ARGUMENT

        In the Fifth Circuit as elsewhere, “a district court may dismiss the class allegation on the

 pleadings” whenever “it is facially apparent from the pleadings that there is no ascertainable


    1
       Although some courts have evaluated motions to strike class allegations as arising under Rule
 12(f), the prevailing view, and the one adopted by courts within the Fifth Circuit, is that such
 motions should be evaluated as arising under Rule 23 itself or Rule 12(b)(6). Compare Donelson
 v. Ameriprise Fin. Servs., Inc., 999 F.3d 1080, 1091–92 (8th Cir. 2021) (applying Rule 12(f)
 standard and concluding that motion to strike class allegations should have been granted), cert.
 denied, 142 S. Ct. 2675 (May 2, 2022), with John v. Nat’l Sec. Fire & Cas. Co., 501 F.3d 443, 445
 (5th Cir. 2007) (applying Rule 12(b)(6) standard to affirm grant of motion to dismiss class
 allegations), Rosa, 177 F. Supp. 3d at 1042–43 (applying Rule 12(b)(6) standard to grant motion
 to strike class allegations), and Markey, 2008 WL 5427708, at *1 (applying Rule 23 standard to
 grant motion to strike class allegations). Regardless of the specific rule, courts apply the same
 standard, analyzing whether it is facially apparent from the pleadings that the Rule 23 class action
 requirements are not met. See Donelson, 999 F.3d at 1092 (Rule 12(f)); Rosa, 177 F. Supp. 3d at
 1042 (Rule 12(b)(6)); Markey, 2008 WL 5427708, at *2 (Rule 23).



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 class.”2 To put it differently, when neither “discovery” nor “more time” will allow the plaintiff to

 fix the problems with class treatment, the court may resolve the class issues on the pleadings alone.

 Pilgrim, 660 F.3d at 949.3 That is precisely the case here. This Court need not look beyond the

 Complaint itself to determine that the Court lacks any means of figuring out which persons

 anywhere stand “able and ready to apply” to the DSP program. SAC ¶ 45. As if that were not

 enough, no one in the putative class (including Plaintiff herself) has standing, and Plaintiff’s

 allegations of discrimination bear no relationship to her class definition. For these reasons, the

 Court should strike Plaintiff’s class allegations.

 A.       The Class Is Not Ascertainable.

          “The existence of an ascertainable class of persons to be represented by the proposed class

 representative is an implied prerequisite of Federal Rule of Civil Procedure 23.” John, 501 F.3d

 at 445. “To be ascertainable, the class must be susceptible to a precise definition to properly

 identify those entitled to relief, those bound by the judgment, and those entitled to notice.” A. A.

 ex rel. P.A. v. Phillips, No. 21-30580, 2023 WL 334010, at *2 (5th Cir. Jan. 20, 2023)

 (unpublished per curiam) (internal quotation marks omitted). There must, in other words, be

 “objective criteria” by which the court can determine who the class members are. Conrad v. Gen.


      2
      John, 501 F.3d at 445 & n.4; see also Pilgrim, 660 F.3d at 949 (holding that district court
 could grant a motion to strike class allegations based on pleadings alone without discovery);
 Donelson, 999 F.3d at 1092 (“It is sensible to permit class allegations to be stricken at the pleading
 stage if it is apparent from the pleadings that the class cannot be certified . . . .” (cleaned up)).
      3
       See also Markey, 2008 WL 5427708, at *2 (granting motion to strike because there was no
 “discovery that would be necessary or helpful to the certification decision” (internal quotation
 marks omitted)); Cnty. of Dorchester v. AT&T Corp., 407 F. Supp. 3d 561, 565–66 (D.S.C. 2019)
 (“A court may grant a motion to strike class allegations where the pleading makes clear that the
 purported class cannot be certified and no amount of discovery would change that determination.”
 (internal quotation marks omitted)); Wexler v. AT&T Corp., 323 F.R.D. 128, 129 (E.D.N.Y. 2018)
 (concluding that “the lack of discovery [was] not a cause for concern” where the undisputed facts
 showed that class action requirements were not met).


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 Motors Acceptance Corp., 283 F.R.D. 326, 328 (N.D. Tex. 2012). In particular, courts “have

 recognized the difficulty of identifying class members whose membership in the class depends on

 each individual’s state of mind.” Simer v. Rios, 661 F.2d 655, 669 (7th Cir. 1981); accord Phillips,

 2023 WL 334010, at *2 (noting that “the class should avoid subjective standards,” such as “a

 plaintiff’s state of mind”).

         In Chaffee v. Johnson, for example, the court rejected as “vague and indefinite” a class

 defined as “all persons who are workers for the end of discrimination and segregation in

 Mississippi, for the encouragement of the exercise by [Blacks] in Mississippi of their right to vote

 and to register to vote, and for the exercise and preservation of civil rights generally in

 Mississippi.” 229 F. Supp. 445, 448 (S.D. Miss. 1964), aff’d, 352 F.2d 514 (5th Cir. 1965). The

 court found that this was “not a proper class action” because “the purported class depend[ed] upon

 the state of mind of a particular individual, rendering it difficult, if not impossible, to determine

 whether any given individual [was] within or without the alleged class.” Id.; cf. DeBremaecker v.

 Short, 433 F.2d 733, 734–35 (5th Cir. 1970) (per curiam) (rejecting class defined as “residents of

 this State active in the ‘peace movement’” as being unascertainable and ill-defined).

         The same is true here. This Court does not have any objective means by which it might

 determine which white and Asian persons are “able and ready to apply” to Amazon’s DSP

 program. SAC ¶ 45. Indeed, as shown in the very cases that Plaintiff cites, whether a person is

 “able and ready to apply” to a given position is a fact-intensive, particularized question that

 considers their intent, among other facts. See Carney v. Adams, 141 S. Ct. 493, 499–503 (2020)

 (considering plaintiff’s “intentions,” among other factors, and concluding, after reviewing wide

 range of evidence, that he lacked standing); Gratz v. Bollinger, 539 U.S. 244, 261–62 (2003)

 (observing that “it is well established that intent may be relevant” to whether a plaintiff is “able




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 and ready to apply” and concluding, based on the evidence, that plaintiff had standing); SAC ¶ 20.4

 Since, as in Chaffee, the question requires determining each person’s state of mind, the class is not

 ascertainable.5

 B.       The Class Impermissibly Includes People Who Are Unaffected by the Challenged
          Practice and Would Require Individualized Inquiries, Necessarily Defeating Any
          Potential Class Certification.

          The class definition is legally unsupportable in another way too: it is untethered to

 Plaintiff’s theory of discrimination. Plaintiff’s theory, as explained above, is that Amazon has

 discriminated against certain DSP owners vis-à-vis other DSP owners. But the class Plaintiff has

 defined is not that of owners, but rather those who are able and ready to apply. Plaintiff does not

 allege that any discrimination occurs in the application process, a process that is lengthy,

 competitive, and highly selective, with successful applicants needing to satisfy several threshold




      4
       See also other cases extrapolating on the “able and ready” standard: Ellison v. Am. Bd. of
 Orthopaedic Surgery, 11 F.4th 200, 202–03, 207 (3rd Cir. 2021) (observing that “[w]hether a
 plaintiff is ‘able and ready’ to pursue a benefit or opportunity turns on the specific facts of the
 case,” including “plaintiff’s intent to pursue [the] benefit in the near future”); Aaron Priv. Clinic
 Mgmt. LLC v. Berry, 912 F.3d 1330, 1337 (11th Cir. 2019) (holding that plaintiff did not establish
 a concrete intent to imminently open a methadone clinic because he had not “select[ed] a clinic
 location, secur[ed] a lease option, consult[ed] with relevant government officials, appli[ed] for the
 necessary permits or certifications, or associat[ed] with potential clients”); Carroll v. Nakatani,
 342 F.3d 934, 942–43 (9th Cir. 2003) (analyzing “the intent” of the plaintiff to determine whether
 he was able and ready to apply for a loan and determining, after a fact-intensive analysis, that he
 was not and therefore lacked standing).
      5
      Though some courts have held that Rule 23(b)(2) classes need not be ascertainable, the Fifth
 Circuit has taken a different view for over half a century. See DeBremaecker v. Short, 433 F.2d
 733, 734 (5th Cir. 1970) (per curiam) (considering it “elementary” that a Rule 23(b)(2) class
 needed to be “adequately defined and clearly ascertainable” and concluding that “[t]hese
 requirements were not . . . satisfied”). That only makes sense, given that ascertainability “is an
 implied prerequisite of Federal Rule of Civil Procedure 23.” John, 501 F.3d at 445. Just a couple
 months ago, the Fifth Circuit, after citing both DeBremaecker and John, vacated certification of a
 (b)(2) class on the ground that it was not ascertainable. See A. A. ex rel. P.A. v. Phillips, No. 21-
 30580, 2023 WL 334010 (5th Cir. Jan. 20, 2023) (unpublished per curiam). In short: (b)(2) classes
 must be ascertainable just like (b)(3) classes (but regardless, Plaintiff here raises both class types).


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 eligibility requirements before being selected as DSP owners. MTD at 6–7.6 It follows that there

 is no connection between Plaintiff’s theory of discrimination and her class definition. Cf. Comcast

 Corp. v. Behrend, 569 U.S. 27, 35–38 (2013) (reversing class certification and explaining that

 damages are incapable of measurement on a classwide basis when they are not directly attributable

 to plaintiff’s classwide theory of liability).

         To try to avoid this problem (and the arguments presented in Amazon’s prior Motion to

 Dismiss), Plaintiff has added to her Second Amended Complaint allegations specific to her,

 including her prior work history, alleged ability to meet the threshold requirements for the DSP

 program, preparations she purportedly took for her application, and her self-asserted likelihood to

 be selected for the program had she pursued the process. See SAC ¶¶ 23–38. As explained in the

 concurrently filed Motion to Dismiss, even those allegations are deficient. But even if one assumes

 arguendo that Plaintiff could establish standing and a right to relief on her facts, the Second

 Amended Complaint itself reveals how individualized the inquiry is. There is no possible way to

 resolve the standing, causation, and damages issues in one fell swoop, through common proof, as

 to each putative class member. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

         For example, even among people who may claim that they are “able and ready to apply,”

 there will be individuals who lack the threshold qualifications to become a DSP owner, or who

 would fail to be selected on the merits. Even under an “able and ready to apply” theory of standing

 (which Amazon disputes), such prospective applicants would not have suffered an actual or

 imminent injury from Amazon’s decision to give grants to some DSP owners but not others,

 because such individuals have little likelihood of ever becoming a DSP owner—or even


     6
       As Amazon’s Motion to Dismiss explains, the application process and requirements are
 detailed in FAQs on Amazon’s website, which are incorporated into Plaintiff’s Complaint and thus
 are subject to judicial notice. See MTD at 5–11 & n.3.


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 meaningfully competing for the position—for reasons unrelated to the challenged policy.

 Likewise, such putative class members would not be able to prove the causation element of a

 Section 1981 claim, much less demonstrate an entitlement to damages for the requested Rule

 23(b)(3) class. See, e.g., E. Tex. Motor Freight Sys. v. Rodriguez, 431 U.S. 395, 403–04 & n.9

 (1977) (applicants who lack qualifications to be hired suffer no injury as a result of discriminatory

 hiring practices); Phelps v. Wichita Eagle-Beacon, 886 F.2d 1262, 1267 (10th Cir. 1989) (“merely

 alleg[ing] possible loss of future opportunities” to enter into a contract is not enough to show injury

 (emphasis in original)); Smart v. Int’l Bhd. of Elec. Workers, Loc. 702, 315 F.3d 721, 726 (7th Cir.

 2002) (rejecting Section 1981 claim when plaintiff “point[ed] to no contract that he bid on and

 failed to obtain because of racial animus”).

        Accordingly, it is already clear that individualized issues will predominate as to the Rule

 23(b)(3) class. It is not enough merely to allege via a class definition that putative class members

 are “able and ready to apply,” because Rule 23 is not a pleading standard. See Wal-Mart, 564 U.S.

 at 350. Instead, putative class members would need to prove that they are in fact able and ready

 to compete for selection into the DSP program (again, assuming arguendo Plaintiff’s theory of

 standing), that their contract interest is non-speculative, and that discrimination is a but-for cause

 of their inability to obtain a stipend. See id. at 350–51. Because those inquiries are inherently

 individualized and not susceptible to common proof, there is no possibility that the Rule 23(b)(3)

 class could be certified. See id. at 367 (explaining that “a class cannot be certified on the premise

 that [a defendant] will not be entitled to litigate its statutory defenses to individual claims”); see

 also Comcast Corp., 569 U.S. at 34–38 (explaining the “demanding” nature of Rule 23(b)(3)’s

 predominance requirement and reversing class certification where plaintiffs sought recovery

 untethered to challenged conduct); Pilgrim, 660 F.3d at 946–49 (affirming grant of motion to strike




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 based on predominance of individualized issues and noting that “the plaintiffs suffered distinct

 injuries” and “would need to make particularized showings”); Markey, 2008 WL 5427708, at *4

 (striking Rule 23(b)(3) class allegations where there were “highly individualized, case-by-case

 determinations” necessary); cf. Donelson v. Ameriprise Fin. Servs., Inc., 999 F.3d 1080, 1093 (8th

 Cir. 2021) (concluding that even a Rule 23(b)(2) class should have been stricken because of the

 “individualized determinations . . . in deciding whether the class members’ claims have merit”),

 cert. denied, 142 S. Ct. 2675 (May 2, 2022).

        For similar reasons, the Rule 23(b)(2) class is also inherently defective. “Rule 23(b)(2)

 applies only when a single injunction or declaratory judgment would provide relief to each member

 of the class.” M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 846 (5th Cir. 2012) (quoting Wal-

 Mart, 564 U.S. at 360) (emphasis added)). To the extent prospective applicants do not actually

 meet the program requirements, have not meaningfully started the application process, or are

 otherwise unable to show a non-speculative ability to become a DSP, they are not and have never

 been in a position to be affected by the diversity grant and would not benefit from injunctive relief.7

                      IV.     CONCLUSION AND REQUESTED RELIEF

        For the foregoing reasons, Amazon respectfully requests that the Court strike Plaintiff’s

 class allegations from the Complaint, see SAC ¶¶ 45–52, and require that this case proceed, if at

 all, only on an individual basis. Alternatively, Amazon respectfully requests that this Court—at a

 minimum—strike the portion of Plaintiff’s Complaint that seeks to bring a Rule 23(b)(3) class.

 Amazon further respectfully requests any other relief to which it is justly entitled.


    7
       Again, for the reasons set forth in the Motion to Dismiss and elsewhere, the Court should find
 that mere applicants to the DSP program lack standing because they categorically are unaffected
 by a program applicable only to DSP owners. See MTD at § I.B. But even if there were some
 situation in which an applicant could claim injury, litigating who in fact is “able and ready to
 apply”—as that concept is defined by case law—cannot be done on a classwide basis through
 common proof.


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 Dated: March 24, 2023

                                            Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 24, 2023, I electronically filed the above Motion to Strike

 Class Allegations with the Clerk of the Court using the CM/ECF system, which will automatically

 send email notification of such filing to all attorneys of record.



                                                          /s/ Natali Wyson
                                                          Natali Wyson




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                              CERTIFICATE OF CONFERENCE

        Beginning on November 8, 2022, the Parties began conferring on multiple occasions by

 email and phone regarding the substance of this Motion as it related to Plaintiff’s First Amended

 Class-Action Complaint. Though certain of the issues previously discussed were resolved by

 Plaintiff’s Second Amended Class-Action Complaint, the issues contained in this Motion have

 remained and counsel for Plaintiff confirmed during a conferral on March 9, 2023 that Plaintiff

 intended to stand on the class allegations as currently set forth in her Second Amended Class-

 Action Complaint. The participants on the March 9 conferral included counsel for both Parties,

 specifically: Natali Wyson, Margaret Allen, Angela Zambrano, and David Carpenter on behalf of

 Defendant Amazon.com, Inc., and Jonathan Mitchell and Gene Hamilton on behalf of Plaintiff

 Crystal Bolduc. The Parties could not reach an agreement as to the issues set forth in this Motion

 due to differing views regarding the requirements of Federal Rule of Civil Procedure 23; the issues

 in this Motion are those over which the Parties have conclusively reached an impasse and are ripe

 for this Court’s determination. Counsel has complied with the meet and confer requirement in

 Local Rule CV-7(h). The Motion is opposed.

                                                        /s/ Natali Wyson
                                                        Natali Wyson




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